         Case 1:10-cv-10902-NMG Document 7 Filed 04/11/11 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                           :
Barbara Ann Schmidt Castro,                :
                                           :          Civil Action No.: 1:10-cv-10902-NMG
                    Plaintiff,             :
        v.                                 :
                                           :
Oxford Management Services, Inc.; and DOES :
1-10, inclusive,                           :
                                           :
                    Defendant.             :
                                           :


          NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                DISMISSAL OF ACTION WITHOUT PREJUDICE
                        PURSUANT TO RULE 41(a)

       Barbara Ann Schmidt Castro (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the
complaint and voluntarily dismisses this action, without prejudice, pursuant to Fed. R. Civ. P.
41(a)(1)(A)(i).

Dated: April 11, 2011

                                                    Respectfully submitted,

                                                    By: /s/ Sergei Lemberg

                                                         Sergei Lemberg, Esq.
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                                                         Attorneys for Plaintiffs
          Case 1:10-cv-10902-NMG Document 7 Filed 04/11/11 Page 2 of 2



                                CERTIFICATE OF SERVICE

       I hereby certify that on April 11, 2011, a true and correct copy of the foregoing Notice of
Settlement was served electronically by the U.S. District Court for the District of Massachusetts
Electronic Document Filing System (ECF) and that the document is available on the ECF
system.

                                             By_/s/ Sergei Lemberg_________

                                                  Sergei Lemberg
